






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00030-CV






Jasmine Charmaine Herndon, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-FM-08-006268, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	After appellant filed her notice of appeal, the clerk's record was filed in this
Court&nbsp;on January 7, 2011, and the reporter's record was filed on February 10, 2011.  Appellant's
appointed counsel filed and was granted two motions for extension of time to file the brief, but
on April 4, 2011, the trial court signed an order allowing counsel to withdraw from the case.
After&nbsp;appellant failed to respond to our notices related to the cause, we abated the appeal, asking
the trial court to hold a hearing to determine whether appellant still wished to pursue the appeal,
whether she was indigent, and whether new appellate counsel should be appointed.  See Tex. R.
App. P. 38.8(a)(2); In re T.V., 8 S.W.3d 448, 449-50 (Tex. App.--Waco 1999, order) (holding
that to adequately protect indigent parent's rights in termination case, court should abate appeal
to allow trial court to hold hearing to determine issues raised in Tex. R. App. P. 38.8(b)); see also
Tex. R. App. P. 38.8(b)(3). 

	The court has provided a supplemental clerk's record containing an order signed after
the requested hearing.  The court determined that appellant had abandoned her appeal and found that
it was not necessary to appoint new appellate counsel and that appellant had not brought forth any
evidence to prove she was indigent.  The trial court recommended that the appeal be dismissed.

	Appellant has not filed any kind of response to the supplemental clerk's record or to
any of our notices, dating back to July 2011.  We therefore dismiss the appeal for want of prosecution.
See Tex. R. App. P. 42.3(b).


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Henson and Goodwin

Dismissed for Want of Prosecution

Filed:   March 13, 2012


